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                               UNITED STATES BANKRUPTCY COURT
                                NORTHERN DISTRICT OF GEORGIA
                                       ATLANTA DIVISION


IN RE:                                                    :       CASE NO. 23-52400-JWC
                                                          :
LISA L. LADAY-DAVIS,                                      :       CHAPTER 7
                                                          :
         Debtor.                                          :
                                                          :

                       APPLICATION TO EMPLOY REAL ESTATE AGENT
                              UNDER LISTING AGREEMENT

         COMES NOW S. Gregory Hays, as Chapter 7 Trustee (“Trustee” or “Applicant”) for the

bankruptcy estate (the “Bankruptcy Estate” or “Estate”) of Lisa L. Laday-Davis (“Debtor”), and

moves this Court for an Order authorizing him to employ Chambers Select Realty and Bill Celler

(collectively hereafter referred to as “Chambers”) as listing agent for the Estate (the

“Application”), and respectfully shows:

                                          Jurisdiction and Venue

         1.        The Court has jurisdiction over this matter pursuant to 28 U.S.C. § 1334. This is a

core proceeding pursuant to 28 U.S.C. § 157(b)(2). Venue is proper pursuant to 28 U.S.C. §§ 1408

and 1409(a).

                                            Background Facts

         2.        Debtor filed a voluntary petition for relief under Chapter 7 of Title 11 of the United

States Code on March 13, 2023 (the “Petition Date”), initiating, Case No. 23-52400-JWC (the

“Case”).

         3.        Debtor’s 341(a) meeting of creditors was held and concluded on April 17. 2023.

Trustee was thereafter appointed and remains the duly acting Chapter 7 trustee in this Case.

         4.        Trustee is the sole representative of the Estate. 11 U.S.C. § 323(a).
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                                            The Property

        5.      Upon Debtor filing her voluntary bankruptcy petition, the Bankruptcy Estate was

formed, and it includes all her legal or equitable interests in property as of the commencement of

the Bankruptcy Case, including the Property, as defined below. See 11 U.S.C. § 541(a)(1).

        6.      Contemporaneous with the filing of this Case, Debtor filed her schedules of assets

and liabilities (the “Schedules”) [Doc. No. 1].

        7.      According to Schedule A/B, Debtor stated that she had an ownership interest in

2220 Derbyshire Drive, Marietta, Georgia 30064 (the “Property”) and that the value of the

Property was $648,000.00.


              Alleged Liens, Interests and Encumbrances on or against the Property

        8.      On her Schedule D, Debtor scheduled three secured claims in or against the Property

with total balances of approximately $498,000.00.

        9.      Based on the Trustee’s independent investigation of value and a real estate broker’s

inspection, evaluation, and comparative marketing analysis of the value of the Property, Trustee has

determined that the value of the Property would support a listing price of $640,000.00. Based on the

value of the Property, there is sufficient equity to benefit the Estate and for Trustee to make a

meaningful distribution if he were to sell it after paying all liens against the Property in full and all

available exemptions in the Property.

                               Request Authority to Employ Realtor

        10.     Trustee requests authority from the Court to employ Chambers as his listing agent in

the proposed sale of the Property under a listing agreement (the “Listing Agreement”) at a listing

price of $640,000.00, which may be extended if necessary, with a six (6%) percent commission of the
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selling price. The Listing Agreement is attached hereto, marked as Exhibit “A” and incorporated

herein by reference.

        11.      Any contract for sale of the Property will be subject to Bankruptcy Court approval

following the filing of a motion pursuant to 11 U.S.C. § 363.

        12.      The affidavit of Bill Celler regarding the matters set out in this Application is attached

hereto as Exhibit "B" and incorporated herein by reference.

        13.      Chambers does not represent any interest adverse to the Estate and is a disinterested

person as that term is defined in 11 U.S.C. §101(14). Chambers has no current relationship with

Trustee or Debtor.

        14.      The employment of Chambers as the listing agent to sell the Property pursuant to the

terms of the Listing Agreement is in the best interest of the Estate.

        WHEREFORE, Trustee prays that this Court grant (a) authority to employ Chambers as his

listing agent to sell the Property pursuant to the Listing Agreement; and (b) such other and further

relief as is just and proper.

        Respectfully submitted this 16th day of May, 2023.

                                                 ROUNTREE LEITMAN KLEIN & GEER, LLC
                                                 Attorneys for Trustee


                                                 By:      /s/ Michael J. Bargar
                                                       Michael J. Bargar
Century Plaza I                                        Georgia Bar No. 645709
2987 Clairmont Road, Suite 350                         mbargar@rlkglaw.com
Atlanta, Georgia 30329
404-410-1220
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                               NORTHERN DISTRICT OF GEORGIA
                                       ATLANTA DIVISION


IN RE:                                                   :       CASE NO. 23-52400-JWC
                                                         :
LISA L. LADAY-DAVIS,                                     :       CHAPTER 7
                                                         :
         Debtor.                                         :
                                                         :


  REAL ESTATE BROKER’S VERIFIED STATEMENT PURSUANT TO FEDERAL
           RULES OF BANKRUPTCY PROCEDURE 2014 AND 5002

         The undersigned hereby declares under penalty of perjury:

                      1. I am a licensed real estate agent in the State of Georgia and am affiliated

                   with Chambers Select Realty (“Chambers”), with offices located at 25 Alexander

                   Street, Marietta, GA 30060. Chambers’ Brokerage Firm License Number is H-

                   78991.

                      2. Chambers has been asked to represent S. Gregory Hays, as Chapter 7

                   Trustee for the bankruptcy case (the “Bankruptcy Case”) of Lisa L. Laday-Davis

                   (“Debtor”), in the value evaluation and sale of that certain improved real property

                   located at 2200 Derbyshire Drive, Marietta, GA 30060 (the “Property”).

                      3. Chambers is experienced at providing opinions as to the valuation and at

                   handling the sales of real property in the State of Georgia.

                      4. Chambers is to be compensated for its services as a real estate broker at six

                   (6%) percent of the selling price of the Property, subject to Court approval after

                   notice and hearing, which notice and hearing may be provided with the notice of

                   the relevant sale of the Property.
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               5. Except as set forth herein, neither I nor Chambers has a connection within

           the scope of Bankruptcy Rule 2014 with the creditors, or any party in interest in

           this bankruptcy case, or any attorney or accountant thereof, or Debtor.

               6. Neither I nor Chambers are related to or have any connection within the

           scope of Bankruptcy Rules 2014 or 5002 with any Judge of the United States

           Bankruptcy Court, Northern District of Georgia. Moreover, neither I nor Chambers

           are related to or have any connection within the scope of Bankruptcy Rules 2014

           or 5002 with any attorney, employee, or agent of the Office of the United States

           Trustee.

              7. To the best of my knowledge, information, and belief, Chambers and I are

           disinterested persons as that term is defined under 11 U.S.C. § 101(14).
                      14th day of May, 2023.
           Dated this ___




                                        Bill ,illei, R altor
                                        Georgia Real Estate License No. 363987
                                        Telephone: (404) 593-5156
                                        bill@chambersselect.com




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                                     CERTIFICATE OF SERVICE

       This is to certify that I have this day electronically filed the foregoing Application to

Employ Real Estate Agent under Listing Agreement using the Bankruptcy Court’s Electronic Case

Filing program, which sends a notice of this document and an accompanying link to this document

to the following parties who have appeared in this case under the Bankruptcy Court’s Electronic

Case Filing program:


Chuba Abaelu                                           Scott E. Morris
chuba.abaelu@qpwblaw.com                               smorris@hnzw.com

Erich N. Durlacher                                     Office of the United States Trustee
edurlach@burr.com                                      ustpregion21.at.ecf@usdoj.gov
brobinson@burr.com
                                                       Daniel E. Raskin
S. Gregory Hays                                        danieleraskin1@gmail.com
ghays@haysconsulting.net                               R52148@notify.bestcase.com
saskue@haysconsulting.net
GA32@ecfcbis.com                                       Kathryn Roberts
                                                       kroberts@hnzw.com
Michael J. McCormick
michael.mccormick@mccalla.com                          Kelly E. Waits
Michael.McCormick@mccalla.com                          kwaits@burr.com
mccallaecf@ecf.courtdrive.com

       This is to further certify that I have this day served the Application to Employ Real Estate

Agent under Listing Agreement by first class, United States mail, with postage prepaid fully

thereon, to the following parties:

Lisa L. Laday-Davis
798 Springs Crest Drive
Dallas, GA 30157

       This 16th day of May, 2023.

                                        By: /s/ Michael J. Bargar
                                           Michael J. Bargar
                                           Ga. Bar No. 645709
